Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 1 of 20




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA




    PATRICK GAYLE, et al.                                                  Case No. 20cv21553

    Petitioners,

    v.

    MICHAEL W. MEADE,
    Field Office Director, Miami Field Office, U.S.
    Immigration and Customs Enforcement et al.,

    Respondents.

    ______________________________________________


                      DECLARATION OF ACTING OFFICER IN CHARGE
                                 LIANA J. CASTANO

    I, Liana J. Castano, Acting Officer in Charge (OIC), make the following statements under oath and
    subject to the penalty of perjury:

           1. I am employed by U.S. Department of Homeland Security (DHS), Immigration and
              Customs Enforcement (ICE), and currently serve as the Acting OIC of the Krome
              Service Processing Center (Krome). I am also an Assistant Field Office Director
              (AFOD) at Krome. I have held this position since September 2, 2018.

           2. I provide this declaration based on my personal knowledge, belief, reasonable inquiry,
              and information obtained from various records, systems, databases, other DHS
              employees, employees of DHS contract facilities, and information portals maintained
              and relied upon by DHS in the regular course of business. This declaration responds to
              Petitioners’ emergency motion to compel compliance with the court’s order of June 5,
              2020, granting injunctive relief.

           3. Petitioners contend that detainees lack cleaning supplies and that common areas of
              Krome and Glades are not adequately sanitized. The Health and Safety team at Krome
              conducts daily sanitation of the intake area, holding cells, detainee housing units,
              bathrooms, law library, recreation yards and exercise equipment. At Glades, general
              cleaning of the housing area is done after every meal, for a total of three times per day.
              Additionally, in response to COVID19, Glades staff conducts sanitation of all housing
              units two times per day to include all surfaces in the common area. To ensure
Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 2 of 20



             compliance with Items 2(a) and (b) of the June 5, 2020 order, Glades and Krome have
             created logs to document each time that cleaning is conducted in the housing units.

          4. I am aware that some detainees have alleged that they are not provided masks, or that
             staff at Krome or Glades have not worn their masks while in contact with detainees.
             Krome has an adequate supply of surgical masks. Upon intake, detainees are issued a
             surgical mask. In order to document this practice, Krome staff have created a mask
             issuance receipt for incoming detainees and require that the detainee sign for the mask
             upon intake. Upon transfer, detainees are issued a surgical mask. In order to document
             this practice, Krome staff have created a mask issuance receipt for outgoing detainees
             and require that the detainee sign for the mask prior to departure.

          5. All staff at Krome have been issued Personal Protective Equipment to include gloves
             and N-95 respirator masks. Security contract staff assigned to the main gate have been
             issued a face shield, N95 respirator mask and gloves. All janitorial and maintenance
             staff at Krome have been issued Personal Protective Equipment to include gloves and
             N-95 respirator masks. Staff working in the housing units and in close proximity to
             detainees are required to wear their PPE while on duty.

          6. Similarly, I have been advised that all staff at Glades County were issued masks and
             nitrile gloves, which are available throughout the facility.

          7. All detainees at Krome and Glades are issued surgical masks on a weekly basis and are
             encouraged to use their masks at all times. All detainees are provided education and a
             visual guide on the proper use of a face covering. Detainees are not required to wear
             their surgical mask. Some detainees at Krome and Glades have chosen to not wear their
             issued surgical mask.

          8. To comply with Item 2(f) of the court’s order, ICE has developed a seating chart for its
             vans and buses to maximize social distancing while transporting ICE detainees, copies
             of which are attached as reference.

          9. I am aware of allegations that the soap dispensers are not refilled with sufficient speed
             at Glades and Krome, and that hand sanitizer is unavailable at Glades. At Krome,
             Purell Hand Sanitizer dispensers have been installed in all housing units. The facility’s
             health and safety unit visits each housing unit daily and replenishes supplies daily.
             Krome continues to provide, at no cost, adequate amounts of soap, water and cleaning
             materials to ICE detainees. Upon intake, ICE detainees are given an opportunity to
             shower are issued clean clothing, bedding, towels and personal allotment of hygiene
             items, to include soap, which is replenished upon request.

          10. Glades continues to provide, at no cost, adequate amounts of soap, water and cleaning
              materials to ICE detainees. Upon intake, ICE detainees are given an opportunity to
              shower and are issued clean clothing, bedding, towels and personal allotment of
              hygiene items, to include soap, which is replenished upon request.
Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 3 of 20



          11. To comply with item 2(a) of the June 5, 2020 order, ICE has approved funding for the
              procurement of hand sanitizer dispensers and product at Glades. Installation of the
              dispensers is anticipated to occur on June 22,2020.

          12. To comply with item 2(h) of the court’s order regarding education, signage and
              educational information flyers are located in all common areas at Krome and Glades.
              At Krome, medical staff visited all housing units and gave an oral presentation about
              COVID-19 and allowed for a question and answer session. Glades is working with
              their IT department to produce a DVID from the latest CDC videos as an enhancement
              to be played in medical to detainees in the waiting room area.

          13. I am aware of complaints from detainees at Glades that laboratory-confirmed cases of
              COVID-19 were commingled with asymptomatic individuals.

          14. Pursuant to the CDC Interim Guidance on Management of Coronavirus Disease 2019,
              Glades quarantined entire housing units due to contact with a confirmed case of
              COVID-19. During this time, no new individuals were added to the group. The entire
              group was monitored and assessed by medical staff twice a day for COVID-19
              symptoms. All symptomatic detainees were tested for COVID-19.

          15. After the fourteen-day medical observation period, medical staff assessed each
              detainee using the following criteria:
              a. At least 3 days (72 hours) have passed since recovery defined as resolution of
                  fever without the use of fever-reducing medications and improvement in
                  respiratory symptoms (e.g., cough, shortness of breath); AND,
              b. At least 7 days have passed since symptoms first appeared, AND
              c. A minimum of 14 days has passed since the first specimen collection resulting in
                  a positive confirmatory test for an FDA EUA COVID-19 molecular assay for
                  detection of SARS-CoV-2.

          16. As of June 14, 2020, there are no detainees under cohort status at Glades.

          17. Glades medical staff continue to monitor the detainee population and conducts twice
              daily temperature checks of detainees and staff as a precaution. Glades tests
              symptomatic detainees for COVID-19 and positive cases are medically isolated, and
              referred to a local hospital, if necessary.

          18. At Krome all detainees previously cohorted as a result of being a close contact of a
              laboratory confirmed case of COVID 19, were tested for COVID 19. Ten of those
              cases tested positive for COVID 19. They are now in medical isolation and are being
              medically monitored.
Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 4 of 20




          19. All cohorts at Krome have been discontinued as of June 15, 2020.



                                                            Digitally signed by LIANA J
                                                            CASTANO
    DATED: June 19, 2020               _____________________________________
                                                            Date: 2020.06.19 13:50:59 -04'00'

                                       Liana J. Castano
                                       Assistant Field Office Director
                                       Enforcement and Removal Operations
                                       U.S. Immigration and Customs Enforcement
Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 5 of 20




         Composite Exhibits
Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 6 of 20
Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 7 of 20
Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 8 of 20
   Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 9 of 20



                               CONTRACT: HSCEDM-14-D-00002
               DETENTION MANAGEMENT, TRANSPORTATION, AND FOOD SERVICES FOR
                             KROME SERVICE PROCESSING CENTER

                                       BUS # 1
                                      SEATING CHART

      1               2                                         3                4


      5               6                                         7                8


      9              10                                        11               12


     13              14                                        15               16


     17              18                                        19               20


     21              22                                        23               24


     25              26                                        27               28


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            TRANSPORTATION (1)



            TRANSPORTATION (2)
    Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 10 of
                                          20


                               CONTRACT: HSCEDM-14-D-00002
               DETENTION MANAGEMENT, TRANSPORTATION, AND FOOD SERVICES FOR
                             KROME SERVICE PROCESSING CENTER

                                       BUS # 2
                                      SEATING CHART

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    Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 11 of
                                          20


                               CONTRACT: HSCEDM-14-D-00002
               DETENTION MANAGEMENT, TRANSPORTATION, AND FOOD SERVICES FOR
                             KROME SERVICE PROCESSING CENTER

                                       BUS # 3
                                      SEATING CHART

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Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 12 of
                                      20



        TRANSPORTATION (1)



        TRANSPORTATION (2)
Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 13 of
                                      20

                           CONTRACT: HSCEDM-14-D-00002
           DETENTION MANAGEMENT, TRANSPORTATION, AND FOOD SERVICES FOR
                         KROME SERVICE PROCESSING CENTER

                                   VAN # 2

                                                            DATE

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Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 14 of
                                      20
Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 15 of
                                      20

                              CONTRACT: HSCEDM-14-D-00002
              DETENTION MANAGEMENT, TRANSPORTATION, AND FOOD SERVICES FOR
                            KROME SERVICE PROCESSING CENTER

                                      VAN # 3


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Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 16 of
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                              CONTRACT: HSCEDM-14-D-00002
              DETENTION MANAGEMENT, TRANSPORTATION, AND FOOD SERVICES FOR
                            KROME SERVICE PROCESSING CENTER

                                      VAN # 4


                                          SEATING CHART


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Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 17 of
                                      20

                             CONTRACT: HSCEDM-14-D-00002
             DETENTION MANAGEMENT, TRANSPORTATION, AND FOOD SERVICES FOR
                           KROME SERVICE PROCESSING CENTER

                                     VAN # 5


                                          SEATING CHART


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           Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 18 of
                                                 20

                                CONTRACT: HSCEDM-14-D-00002
                DETENTION MANAGEMENT, TRANSPORTATION, AND FOOD SERVICES FOR
                              KROME SERVICE PROCESSING CENTER

                                          VAN # 6

                                      SEATING CHART


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Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 19 of
                                      20
Case 1:20-cv-21553-MGC Document 165-1 Entered on FLSD Docket 06/19/2020 Page 20 of
                                      20
